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UNITED STATES DISTRICT COURT                              EL tCTR O.\ ICA LLY FILED
SOUTHERN DISTRICT OF NEW YORK                             DOC #:
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AS TRAEA NYC LLC ,
                     Plaintiff ,                   21 Civ. 10493 (LLS )
            - against -                            OPINION   &   JUDGMENT

RIVADA NETWORKS , INC .,

                     Defendant .
    - - - - - - - - - - - - - - - - -x
      Petitioner ASTRAEA NYC LLC (" Astraea " ) seeks confirmation

of an Arbitration Award entered against Respondent Rivada

Networks , Inc .     (" Rivada " ) . Rivada does not oppose the petition .

For the reasons that follow , the petition is granted .

                                   BACKGROUND

      Astraea , as lender , and Rivada , as borrower , entered into

two Loan Agreements on December 23 , 2016 for US$500 , 000 and on

January 20 , 2017 for US$2 , 000 , 000. Section 14 of the Loan

Agreements provides for " conclusive and binding " arbitration

before the American Arbitration Association (" AAA " ) .

      Rivada subsequently breached the Loan Agreements by failing

to make the requisite repayments . As a result , on February 5 ,

2021 , Astraea commenced arbitration proceedings to recover

damages . An arbitration hearing was held in New York City on

September 23 and 24 , 2021 .

      On November 18 , 2021 , the Arbi t rator issued an Award in

favor of Astraea and against Rivada in a total amount of


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$3 , 131,816.91 , plus interest calculated at five percent           (5%) per

annum beginning from November 18, 2021 . To date , Rivada has not

paid any portion of the Award . Nor has it made any application

to modify, correct, or vacate the Award .

          On December 8 , 2021 , Astraea brought this timely petition

to confirm the Award under the Federal Arbitration Act ,             9 U.S . C .

§    9.   (Dkt . No. 1). Rivada filed no opposition to the petition or

made any other appearances before this Court . Accordingly ,

Astraea sought a certificate of default , which the Clerk entered

on January 21 , 2022 .        (Dkt. 14). Astraea now moves for summary

judgment in order to have the Award confirmed and reduced to

judgment such that it may enforce collection against Rivada .

(Dkt . No . 15) .

                                 STANDARD OF REVIEW

          Arbitration awards are not self - enforcing . Hoeft v . MVL

Group , Inc. , 343 F.3d 57 , 63        (2d Cir.2003) . Accordingly , " they

must be given force and effect by being converted to judicial

orders by courts."           D. H. Blair & Co. v. Gottdiener , 462 F . 3d 95 ,

104       (2d Cir. 2006) . Under the Federal Arbitration Act , any party

to an arbitration may petition the court for such an order , and

the court must grant it "unless the award is -vacated , modified ,

or corrected[.] " 9 U. S . C . § 9; see Macquarie Holdings (U . S . A.) ,

Inc . v . McLaughlin , No . 17 - CV - 9023 , 2020 WL 6806706 , at *2

    (S . D. N. Y. Nov . 19, 2020) .

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      In reviewing a petition to confirm an arbitration award ,

the district court affords " strong deference" to the arbitral

process . Scandinavian Reinsurance Co . v. St . Paul Fire              &   Marine

Ins. Co .,   668 F . 3d 60 , 72   (2d Cir . 2012) . Confirmation of an

arbitration award is appropriate so long as the arbitrator

"acted within the scope of his authority" and "the award draws

its essence from the agreement." Local 1199 , Drug , Hosp.                 &

Health Care Emps . Union , RWDSU , AFL - CIO v . Brooks Drug Co .,             956

F.2d 22 , 25   (2d Cir . 1992); see D.H . Blair & Co .,           462 F . 3d at

104   ( " The arbitrator 's rationale for an award need not be

explained , and the award should be confirmed if a ground for the

arbitrator ' s decision can be inferred from the facts of the

case.") . Therefore, even if the court disagrees with the merits

of the award, the court should enforce it " if there is a barely

colorable justification for the outcome reached." Landy Michaels

Realty Corp . v. Loe . 32B - 32J , Serv. Emps . Int ' l Union , AFL - CIO ,

954 F . 2d 794,   797   (2d Cir. 1992 ) ; see , e . g ., United Paperworkers

Int'l Union v . Misco,      Inc. ,   484 U. S. 29 , 38   (1987)    ("As long as

the arbitrator is even arguably construing or applying the

contract and acting within the scope of his authority , that a

court is convinced he committed a serious error does not suffice

to overturn his decision ." ) .

      The party moving to vacate an arbitral award maintains the

heavy burden of proof . Wallace v. Buttar ,          378 F.3d 182 , 189        (2d

                                        -3-
Cir . 2004) . When , as here , no party contests the confirmation of

the arbitration award , the unopposed motion should be " treated

as akin to a motion for summary judgment based on the movant ' s

submissions ." D. H. Blair & Co .,     462 F.3d at 109 . " Even when a

motion for summary judgment is unopposed , the district court is

not relieved of its duty to decide whether the movant is

entitled to judgment as a matter of law ." Vt . Teddy Bear Co . v .

1 - 800 Beargram Co .,   373 F . 3d 241 , 242    (2d Cir . 2004).

                                  DISCUSSION

     Upon review of the petition , the memorandum of law , and the

accompanying documents , the Arbitration Award is confirmed .

      Ba s ed on the language of the Loan Agreements and supported

as well by extrinsic evidence , the arbitrator found a breach of

contract by Respondent . She rejected arguments that the debt had

been converted (by agreement or constructively) to a purchase of

equity based on the Loan Agreements '           terms and the parties '

conduct , found the application of factors occasionally applied

in bankruptcy court to be inapplicable and in this case to favor

that the investment was debt rather than equity , and declined to

find a modification of the Loan Agreements from the subsequent

conduct of the parties . These conclusions were , beyond argument ,

correct .

      She found Respondent " fall s woefully short in establishing

any of the required elements " of estoppel as an equitable

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defense    (Dkt. No. 1 Ex . A at 13), and the assertion of the

defense of unclean hands to be outside her authority under the

arbitration agreement .

      Her determinations were carefully made and are confirmed by

this Court.

      Her award is confirmed , and it is ADJUDGED that Petitioner

Astraea NYC LLC recover from Respondent Rivada Networks , Inc .

the amount of $3 , 123 , 729 . 41 , plus $8 , 087 . 50 for Respondent ' s

share of the administrative fees and expenses of the American

Arbitration Association for a total amount of $3 , 131 , 816 . 91 ,

plus interest calculated at five percent (5 %) per annum

beginning from November 18 , 2021.

      So ordered .


Dated: February 15 , 2022
          New York , New York




                                                 LOUIS L . STANTON

                                                       U. S.D.J.




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